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Bednarz Decl.

EXHIBIT B
Case 1:11-cv-10230-MLW Document 545-3 Filed 06/07/19 Page 2 of 5

=
G M p | i | Frank Bednarz <frank.bednarz@hlli.org>

by Google

 

ATRS v State Street

 

Ted Frank <tfrank@gmail.com> Tue, Apr 23, 2019 at 4:51 PM
To: Frank Bednarz <frank.bednarz@hlli.org>, "Wolosz, Justin J." <jwolosz@choate.com>

Justin: please confirm that you've asked your client to look into the referral fee disclosure in
Petrobras and let me know what they find.

On Fri, Apr 19, 2019 at 11:20 AM Wolosz, Justin J. <jwolosz@choate.com> wrote:

Same for Labaton as well.

Justin J. Wolosz

CHOATE

Choate, Hall & Stewart LLP
Two International Place
Boston, MA 02110

t 617.248.5221

f 617.502.5221
jwolosz@choate.com

www.choate.com

From: Laura Gerber [mailto:lgerber@KellerRohrback.com]

Sent: Thursday, April 18, 2019 12:41 PM

To: Heimann, Richard M.; ‘Kelly, Brian'; Ted Frank; Gary Peeples; Lukey, Joan; David Copley; Chiplock, Daniel P.;
Robert L. Lieff; Fineman, Steven E.; Wolosz, Justin J.; Glass, Stuart M.; Sharp, Joshua; bmctigue@mctiguelaw.com;
jmoore@mctiguelaw.com; cmc@fczlaw.com; rjb@fczlaw.com; Lynn Sarko; ckravitz@zuckerman.com;
msmith@zuckerman.com; Paine, William; Halston, Daniel; emcevoy@barrettsingal.com;
wsinnott@barrettsingal.com

Cc: Frank Bednarz; ted.frank@hlli.org

Subject: RE: ATRS v State Street

**External Email**

 

Keller Rohrback takes the same position as the Thornton Law Firm.

Thank you,
Case 1:11-cv-10230-MLW Document 545-3 Filed 06/07/19 Page 3 of 5
Laura Gerber

From: Heimann, Richard M. <RHEIMANN@lchb.com>

Sent: Thursday, April 18, 2019 8:15 AM

To: ‘Kelly, Brian' <bkelly@nixonpeabody.com>; Ted Frank <tfrank@gmail.com>; Gary Peeples
<gpeeples@bpjlaw.com>; Lukey, Joan <joan.lukey@choate.com>; Chiplock, Daniel P.
<DCHIPLOCK@lchb.com>; Robert L. Lieff <rlieff@Ichb.com>; Fineman, Steven E. <sfineman@Ichb.com>;
Wolosz, Justin J. <jwolosz@choate.com>; Glass, Stuart M. <sglass@choate.com>; Sharp, Joshua
<jsharp@nixonpeabody.com>; bmctigue@mctiguelaw.com; jmoore@mctiguelaw.com; cmc@fczlaw.com;
rjo@fczlaw.com; Laura Gerber <Igerber@KellerRohrback.com>; Lynn Sarko <Isarko@kellerrohrback.com>;
ckravitz@zuckerman.com; msmith@zuckerman.com; Paine, William <William.Paine@wilmerhale.com>;
Halston, Daniel <Daniel. Halston@wilmerhale.com>; emcevoy@barrettsingal.com;
wsinnott@barrettsingal.com

Cc: Frank Bednarz <frank.bednarz@hlli.org>; ted.frank@hlli.org

Subject: RE: ATRS v State Street

Same for LCHB

i Richard M. Heimann
Lieff rheimann@lchb.com

Cabraser t 415.956.1000
Heimanns f 415.956.1008
Bernstein Lieff Cabraser Heimann & Bernstein, LLP
275 Battery Street, 29th Floor

San Francisco, CA 94111-3339

www lieffcabraser.com

From: Kelly, Brian [mailto:bkelly@nixonpeabody.com]

Sent: Thursday, April 18, 2019 7:16 AM

To: Ted Frank; Gary Peeples; Lukey, Joan; Heimann, Richard M.; Chiplock, Daniel P.; Lieff, Robert L.; Fineman,
Steven E.; Wolosz, Justin J.; Glass, Stuart M.; Sharp, Joshua; bmctigue@mctiguelaw.com;
jmoore@mctiguelaw.com; cmc@fczlaw.com; rjb@fczlaw.com; Igerber@kellerrohrback.com;
Isarko@kellerrohrback.com; ckravitz@zuckerman.com; msmith@zuckerman.com; Paine, William; Halston, Daniel;
emcevoy@barrettsingal.com; wsinnott@barrettsingal.com

Cc: Frank Bednarz; ted.frank@hlli.org

Subject: RE: ATRS v State Street

Hi Ted,
Case 1:11-cv-10230-MLW Document 545-3 Filed 06/07/19 Page 4of5
On behalf of TLF, we do not consent to CEI’s/ CCAF’s/ HLLI’s participation in the proceedings, but we do not oppose
you substituting HLLI for CEI as a technical matter for purposes of the docket. We reserve the right to object to the
participation of any of these entities in the proceedings.

Regards,

Brian

Brian T Kelly
Partner
bkelly@nixonpeabody.com

| T 617-345-1065 | C 617-880-9918 | F 855-714-9513
Nixon Peabody LLP | Exchange Place | 53 State Street | Boston, MA 02109-2835
nixonpeabody.com | @NixonPeabodyLLP

 

The NP Boston office has moved! We are now located at Exchange Place — 53 State Street.

 

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recipient is strictly prohibited and may be unlawful. Thank you.

From: Ted Frank <tfrank@gmail.com>

Sent: Wednesday, April 17, 2019 1:14 PM

To: Gary Peeples <gpeeples@bpjlaw.com>; Lukey, Joan <joan.lukey@choate.com>; rheimann@lchb.com;
dchiplock@Ichb.com; rlieff@Ichb.com; sfineman@Ichb.com; Wolosz, Justin J. <jwolosz@choate.com>; Glass,
Stuart M. <sglass@choate.com>; Kelly, Brian <bkelly@nixonpeabody.com>; Sharp, Joshua
<jsharp@nixonpeabody.com>; bmctigue@mctiguelaw.com; jmoore@mctiguelaw.com; cnc@fczlaw.com;
rjb@fczlaw.com; Igerber@kellerrohrback.com; Isarko@kellerrohrback.com; ckravitz@zuckerman.com;
msmith@zuckerman.com; Paine, William <William.Paine@wilmerhale.com>; Halston, Daniel
<Daniel.Halston@wilmerhale.com>; emcevoy@barrettsingal.com; wsinnott@barrettsingal.com

Cc: Frank Bednarz <frank.bednarz@hlli.org>; ted.frank@hlli.org

Subject: ATRS v State Street

[EXTERNAL E-MAIL]

Counsel,
Case 1:11-cv-10230-MLW Document 545-3 Filed 06/07/19 Page 5of5

The Center for Class Action Fairness (CCAF) moved to the Hamilton Lincoln Law Institute (HLLI) on January 31.
Please advise whether you oppose a motion to substitute HLLI for the Competitive Enterprise Institute (CEI), or
alternatively to withdraw CEI and allow HLLI to participate as amicus in its stead going forward.

CEI consents to the substitution. | understand that the plaintiffs' firms have standing objections to CCAF
participating at all and we note that in the motion, but one hopes the parties can assent to the substitution of
parties to reflect the successorship of CCAF without unnecessary litigation over a collateral issue.

Separately, counsel for Labaton: please advise whether the referral arrangement Labaton discloses for In re
Petrobras Securities Litigation, No. 14-cv-9662 (S.D.N.Y.) (see Dkt. 536-2 at 8) was noticed to the class in that
case pursuant to S.D.N.Y. Local Civil Rule 23.1. As you know, | represent a class member to that settlement.

Regards,

Ted Frank

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